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 8
                              UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
     HOANG MINH LE, an individual               Case No.: 5:24-cv-02299
12
                 Plaintiff,                     COMPLAINT FOR
13
           vs.
14                                                 (1) VIOLATION OF THE UNRUH
     DD&E, LLC, a limited liability                    CIVIL RIGHTS ACT
15   company; CHANG HEE KIM, an
     individual;                                       (CALIFORNIA CIVIL CODE
16                                                     §§ 51, 52);
                 Defendants.
17                                                 (2) VIOLATIONS OF THE
                                                       AMERICANS WITH
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                                                       DISABILITIES ACT OF 1990
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                                       COMPLAINT
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                                          I.      SUMMARY
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             1.    This is a civil rights action by Plaintiff HOANG MINH LE (“Plaintiff”)
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     for discrimination at the building, structure, facility, complex, property, land,
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     development, and/or the entire parking lot surrounding the shopping plaza bearing the
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     legal address: 125 N. McKinley St., Corona, CA 92879, Riverside County (the
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     “Property”). Plaintiff is often in the area for dining and entertainment as he enjoys the
 7
     various food options offered in the area. On this particular visit, he desired to
 8
     patronize the restaurant “Dollar Tree” located at the Property.
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             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
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     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
11
     12101, et seq.) and related California statutes1 against Defendant, the tenant and/or
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     owner of the DD&E, LLC, a limited liability company; CHANG HEE KIM, an
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     individual (collectively, “Defendants”).
14
                                                   II.
15
                                           JURISDICTION
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             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17
     for ADA claims.
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             4.    Supplemental jurisdiction for claims brought under parallel California
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     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20
     1367.
21
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22
                                                   III.
23
                                                  VENUE
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             6.    All actions complained of herein take place within the jurisdiction of the
25
     United States District Court, Central District of California, and venue is invoked
26
     pursuant to 28 U.S.C. § 1391(b), (c).
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28   1
      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                         1
                                               COMPLAINT
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                                                   IV.
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                                                PARTIES
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           7.       On information and belief, Plaintiff alleges that Defendant is, or was at
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     the time of the incident, the owners, operators, lessors and/or lessees of the Property,
 5
     and consist of a person (or persons), firm, company, and/or corporation.
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           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
 7
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
 8
     is “physically disabled” as defined by all applicable California and United States laws,
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     and a member of the public whose rights are protected by these laws. Plaintiff is a
10
     resident of San Bernardino, California. Plaintiff is considered a high frequency
11
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
12
     the twelve months preceding the filing of this complaint, Plaintiff has filed
13
     approximately eleven (11) other construction accessibility related claims.
14
                                                         V.
15
                                                    FACTS
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           9.       On or about November 4, 2023, Plaintiff patronized the Property. The
17
     Property is a sales or retail establishment, open to the public, which is intended for
18
     nonresidential use and whose operation affects commerce.
19
           10.      Plaintiff visited the Property and encountered barriers (both physical and
20
     intangible) that interfered with Plaintiff’s ability to use and enjoy the goods, services,
21
     privileges and accommodations offered at the facility. To the extent known by
22
     Plaintiff, the barriers at the Property included, but are not limited to the following:
23
                 a. The access aisle and/or accessible parking spaces have slopes and cross
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                    slopes that exceed 2.0%, including but not limited to ramps that protrude
25
                    into access aisles creating excessive sloping. Without a level parking
26
                    space, it becomes difficult for Plaintiff to unload/transfer from his vehicle
27
                    as his wheelchair rolls.
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                 b. To the extent that the ramps protruding onto the access aisle are intended
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                                               COMPLAINT
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                    to provide an accessible pathway, the ramps are too steep and do not
 2
                    contain the required handrails, thus making it extremely unsafe for
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                    Plaintiff to use because when going up or down the makeshift ramp,
 4
                    Plaintiff can easily lose his balance.
 5
                 c. Accessible parking spaces are not properly maintained, including but not
 6
                    limited to faded pavement marking and vertical signage which is not
 7
                    properly maintained. This makes it difficult for Plaintiff to determine
 8
                    which spaces are intended to accommodate his disability.
 9
                 d. Paths of travel are either too narrow and or sloped. This makes it
10
                    difficult for Plaintiff to travel throughout the Property in his wheelchair.
11
           11.      These barriers to access are listed without prejudice to Plaintiff citing
12
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
13
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
14
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
15
     Property.
16
           12.      Plaintiff experienced difficulty, discomfort and embarrassment as a result
17
     of the accessible barriers he encountered. He continues to be deterred from visiting
18
     the Property because of the future threats of injury created by these barriers. Plaintiff
19
     would patronize the Property once the barriers are removed as he enjoys patronizing
20
     the businesses at the Property. Within 12 months of the barriers being removed from
21
     the Property, Defendant would return to the Property to not only ensure that the
22
     Property is fully accessible, but to also patronize the businesses at the Property.
23
           13.      On information and belief, Plaintiff alleges that Defendant knew that
24
     these elements and areas of the Property were inaccessible, violate state and federal
25
     law, and interfere with (or deny) access to the physically disabled. Moreover,
26
     Defendant has the financial resources to remove these barriers from the Property
27
     (without much difficult or expense), and make the Property accessible to the
28
     physically disabled. To date, however, the Defendant refuses to remove those
                                                   3
                                             COMPLAINT
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 1
     barriers.
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            14.   On information and belief, Plaintiff alleges that at all relevant times,
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     Defendant has possessed and enjoyed sufficient control and authority to modify the
 4
     Property to remove impediments to wheelchair access and to comply with the
 5
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
 6
     Defendant has not removed such impediments and has not modified the Property to
 7
     conform to accessibility standards.
 8
                                                VI.
 9
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
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           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
11
       AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
12
                                      CODE SECTION 51(f)
13
            15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
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     14 for this claim and incorporates them herein.
15
            16.   At all times relevant to this complaint, California Civil Code § 51 has
16
     provided that physically disabled persons are free and equal citizens of the state,
17
     regardless of disability or medical condition:
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            17.   All persons within the jurisdiction of this state are free and equal, and no
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     matter what their sex, race, color, religion, ancestry, national origin, disability, or
20
     medical condition are entitled to the full and equal accommodations, advantages,
21
     facilities, privileges, or services in all business establishments of every kind
22
     whatsoever. Cal. Civ. Code § 51(b).
23
            18.    California Civil Code § 52 provides that the discrimination by Defendant
24
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
25
     discrimination provisions of §§ 51 and 52.
26
            19.   Defendant’s discrimination constitutes a separate and distinct violation of
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     California Civil Code § 52 which provides that:
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            Whoever denies, aids or incites a denial, or makes any discrimination or
                                                   4
                                            COMPLAINT
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           distinction contrary to section 51, 51.5 or 51.6 is liable for each and every
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           offense for the actual damages, and any amount that may be determined by a
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           jury, or a court sitting without a jury, up to a maximum of three times the
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           amount of actual damage but in no case less than four thousand dollars ($4,000)
 5
           and any attorney’s fees that may be determined by the court in addition thereto,
 6
           suffered by any person denied the rights provided in Section 51, 51.5 or 51.6.
 7
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 8
     the Second Cause of Action) constitutes a violation of California Civil Code § 51(f)
 9
     thus independently justifying an award of damages and injunctive relief pursuant to
10
     California law. Per § 51(f), “[a] violation of the right of any individual under the
11
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
12
     section.”
13
           21.    In addition to the occurrence in November 2023 instance, Plaintiff is
14
     entitled to $4,000.00 in statutory damages for each additional occurrence of
15
     discrimination under California Civil Code § 52. Plaintiff continues to be deterred
16
     from visiting the Property and thus is entitled to an additional $4,000.00 in statutory
17
     damages for each additional instance of deterrence or discrimination which occurs
18
     from the date of this complaint until a final judgment is rendered in this action.
19
           22.    The actions and omissions of Defendant as herein alleged constitute a
20
     denial of access to and use of the described public facilities by physically disabled
21
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
22
     result of Defendant’s action and omissions Defendant has discriminated against
23
     Plaintiff in a violation of Civil Code §§ 51 and 51.
24
                                              VII.
25
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
26
                  DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
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           23.    Plaintiff incorporates the allegations contained in paragraphs 1 through
28
     23 for this claim and incorporates them herein.
                                                 5
                                           COMPLAINT
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           24.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
 2
     Congress passed “Title III – Public Accommodations and Services Operated by
 3
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
 4
     entities” which are considered “public accommodations” for purposes of this title,
 5
     which includes any “restaurant, bar, or other sales or rental establishment serving food
 6
     or drink.” § 301(7)(B).
 7
           25.    The ADA states that “[n]o individual shall be discriminated against on
 8
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 9
     privileges, advantages, or accommodations of any place of public accommodation by
10
     any person who owns, leases, or leases to, or operates a place of public
11
     accommodation.” 42 U.S.C. § 12182.
12
           26.    The acts and omissions of Defendant set forth herein were in violation of
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     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
14
     Part 36 et seq.
15
           27.    On information and belief, Plaintiff alleges that the Property was
16
     constructed after 1992 and thus Defendant is not entitled to the readily achievable
17
     defense. On further information and belief, Plaintiff alleges that the removal of each
18
     of the barriers complained of by Plaintiff as hereinabove alleged, were at all times
19
     herein mentioned "readily achievable" under the standards §§ 30 l and 302 of the
20
     ADA. As noted hereinabove, removal of each and every one of the architectural
21
     barriers complained of herein were also required under California law. Further, on
22
     information and belief, alterations, structural repairs or additions since January 26,
23
     1993 have also independently triggered requirements for removal of barriers to access
24
     for disabled persons per § 303 of the ADA. In the event that removal of any barrier is
25
     found to be "not readily achievable," Defendant still violated the ADA, per§ 302(b
26
     )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
27
     accommodations through alternative methods that were readily achievable.
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           28.    On information and belief, Plaintiff alleges that as of the date of
                                                  6
                                           COMPLAINT
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 1
     Plaintiff’s encounter at the Property and as of the filing of this Complaint, the
 2
     Defendant has denied and continues to deny full and equal access to Plaintiff and to
 3
     other disabled persons, including wheelchair users, in other respects, which violate
 4
     Plaintiff's rights to full and equal access and which discriminate against Plaintiff on
 5
     the basis of his disability, thus wrongfully denying to Plaintiff the full and equal
 6
     enjoyment of the goods, services, facilities, privileges, advantages and
 7
     accommodations, in violation of§§ 302 and 303 of the ADA. 42 USC§§ 12182 and
 8
     12183.
 9
           29.    On information and belief, Plaintiff alleges that Defendant has continued
10
     to violate the law and deny the rights of Plaintiff and other disabled persons to access
11
     this public accommodation since on or before Plaintiff's encounters, as previously
12
     noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
13
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
14
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
15
     in violation of the ADA or has reasonable grounds for believing that he is about to be
16
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
17
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
18
     make such facilities readily accessible to and usable by individuals with disabilities to
19
     the extent required by this title."
20
           30.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
21
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
22
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
23
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
24
     to discrimination on the basis of disability in violation of Title III and who has
25
     reasonable grounds for believing he will be subjected to such discrimination each time
26
     that he may attempt to use the Property and premises.
27
                                                 PRAYER
28
           31.    WHEREFORE, Plaintiff prays that this court award damages and provide
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                                            COMPLAINT
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     relief as follows:
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        1. Issue a preliminary and permanent injunction directing Defendant as current
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     owners, operators, lessors, and/or lessees of the Property to modify the above
 4
     described Property and related facilities so that each provides full and equal access to
 5
     all persons, including but not limited to persons with physical disabilities who use
 6
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
 7
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
 8
     disabilities, and which provide full and equal access, as required by law, including
 9
     appropriate changes in policy;
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        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
11
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
12
     inaccessible public facilities as complained of herein no longer occur, and can not
13
     recur;
14
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
15
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
16
     in this case, all according to proof;
17
        4. Award to Plaintiff all appropriate damages, including but not limited to
18
     statutory damages, general damages and treble damages in amounts within the
19
     jurisdiction of this Court, all according to proof;
20
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
21
     costs of this proceeding as provided by law;
22
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
23
     3291;
24
        7. Grant such other and further relief as this Court may deem just and proper.
25

26                                       ASCENSION LAW GROUP, PC

27
     DATE: October 29, 2024                      _____/s/ Pamela Tsao__
28                                           Pamela Tsao, attorney for Plaintiff

                                                    8
                                              COMPLAINT
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 1                                                 Hoang Minh Le
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                                        COMPLAINT
